      Case 23-04752          Doc 56   Filed 08/17/23 Entered 08/17/23 13:53:48             Desc Main
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                               UNITED STATES BANKRUPTCY COURT
                                NORTHERN DISTRICT OF ILLINOIS

In re: Adrian Potrzebowski                    )           Chapter 13
                                              )
                                              )           No. 23 B 04752
                                              )
                 Debtor(s)                    )           Judge A. Benjamin Goldgar

                     NOTICE OF MOTION AND CERTIFICATE OF SERVICE

To: Adrian Potrzebowski, 895 Penny Lane, Buffalo Grove, IL 60089
    Manuel A Cardenas & Associates, 2059 N Western Avenue, Chicago, IL 60647

      PLEASE TAKE NOTICE that on August 25, 2023 at 10:30 a.m., I will appear before the Honorable
Judge A. Benjamin Goldgar or any judge sitting in that judge’s place, either in courtroom 642 of the
Everett McKinley Dirksen United States Courthouse, 219 S Dearborn Street, Chicago IL 60604 or
electronically as described below, and present motion of the trustee to convert debtor’s case to Chapter 7,
a copy of which is attached.

       Important: Only parties and their counsel may appear for the presentment of the motion
electronically using Zoom for Government. All others must appear in person.

       To appear by Zoom using the internet, go to this link: https://zoomgov.com/. Then enter the
meeting ID and passcode.

      To appear by Zoom using a telephone, call Zoom for Government at 1-669-254-5252 or 1-646-
828-7666. Then enter the meeting ID and passcode.

      Meeting ID and passcode. The meeting ID for this hearing is 160 817 7512 and the passcode is
623389. The meeting ID and password can also be found on the judge’s page on the court’s web site.

         If you object to this motion and want it called on the presentment date above, you must file a
Notice of Objection no later than two (2) business days before that date. If a Notice of Objection is timely
filed, the motion will be called on the presentment date. If no Notice of Objection is timely filed, the court
may grant the motion in advance without calling it.

     I declare under penalty of perjury under the laws of the United States of America that I served a
copy of this notice and the attached motion on the above listed debtor by depositing it in the U.S. Mail at
801 Warrenville Road, Lisle, IL and to debtor’s attorney electronically via the court’s CM/ECF system on
August 17, 2023.


                                                          /s/ Glenn Stearns
                                                          Glenn Stearns, Trustee

                                                          Glenn Stearns, Chapter 13 Trustee
                                                          801 Warrenville Road, Suite 650
                                                          Lisle, IL 60532 (630) 981-3888
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                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF ILLINOIS

In re: Adrian Potrzebowski                    )          Chapter 13
                                              )
                                              )          No. 23 B 04752
                                              )
                Debtor(s)                     )          Judge A. Benjamin Goldgar


           MOTION TO CONVERT CASE FROM CHAPTER 13 TO CHAPTER 7


     Now Comes Glenn Stearns, Chapter 13 Trustee, and requests conversion of the above case

to Chapter 7 pursuant to 11 U.S.C. §1307(c) and in support thereof, states the following:

       1. On April 10, 2023 the debtor filed a petition under Chapter 13.

       2. The non-governmental bar date was June 20, 2023.

       3. Unsecured creditors have file claims totaling $312,145.28

       4. The debtor’s second amended plan filed June 21, 2023 (Doc 35) proposes to pay

           nonpriority unsecured creditors approximately 17% of their allowed claims.

       5. The debtor has provided the trustee copies of brokerage account statements showing

           transfers to corporations controlled by either the debtor (Neron Inc.) or his girlfriend

           (Neron Pro) as follows:

           08/26/2020 $120,000 transferred to Neron Pro.
           11/02/2020 $19,000 transferred to Neron Inc.
           11/02/2020 $163,000 transferred to Neron Pro.
           03/23/2021 $275,000 transferred to Neron Inc.

       6. The debtor testified at his §341 meeting that he made these transfers.

       7. The debtor made these transfers while he was insolvent.
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       8. In this case, it is in the best interest of creditors and the estate that this case be
           converted to Chapter 7 so that a Chapter 7 Trustee can make a thorough investigation
           of the debtor’s assets for the benefit of creditors.


       WHEREFORE, the Trustee prays that this case be converted to a case under Chapter 7
pursuant to Section 1307(c), or for such other and further relief as this court deems proper.




                                               Respectfully Submitted;
                                               Glenn Stearns, Trustee


                                               /S/ Glenn Stearns
                                               By: Glenn Stearns

Glenn Stearns, Chapter 13 Trustee
801 Warrenville Road, Suite 650
Lisle, IL 60532-4350
(630) 981 3888
